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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-MJ-8332-BER


  IN RE SEALED SEARCH WARRANT

  ________________________________/

                     NOTICE IN RESPONSE TO DOCKET ENTRY 79

         In response to the Court’s order (DE79) directing the government to state its position

  on unsealing miscellaneous filings in this matter (DE15, DE16, DE55, and DE56), the United

  States notifies the Court that it has no objection to the unsealing of those documents.



  Date: August 22, 2022                      Respectfully submitted,

                                             /s Juan Antonio Gonzalez
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                                   Certificate of Service

         I HEREBY CERTIFY that I caused the attached document to be electronically

  transmitted to the Clerk’s Office using the CM/ECF system for filing and transmittal of a

  Notice of Electronic Filing.

                                                  /s Juan Antonio Gonzalez
                                                 Juan Antonio Gonzalez
                                                 United States Attorney
